Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 1 of 13 PageID: 8145




                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

      CHAMBERS OF                                                       MARTIN LUTHER KING COURTHOUSE
      MADELINE COX ARLEO                                                50 WALNUT ST. ROOM 4066
      UNITED STATES DISTRICT JUDGE                                      NEWARK, NJ 07101
                                                                        973-297-4903

  May 5, 2023

  VIA ECF

                                               LETTER ORDER

           Re:     IN RE: AMERICAN MEDICAL COLLECTION AGENCY, INC.
                   CUSTOMER DATA SECURITY BREACH LITIGATION
                   Civil Action No. 19-md-2904 ________________________________________

  Dear Litigants:
         Before the Court are Motions to Dismiss two Amended Consolidated Class Actions
  Complaints (the “FACs”) 1 filed in connection with the instant multidistrict litigation (“MDL”) by
  (1) Laboratory Corporation of America Holdings (“LabCorp”), ECF No. 347; and (2) Sonic
  Healthcare USA (“Sonic USA”) and its alleged subsidiaries (the “Sonic Subsidiaries” and together
  with Sonic USA, “Sonic”), ECF No. 351. For the reasons set forth below, the Motions are
  GRANTED IN PART and DENIED IN PART.

  I.       BACKGROUND 2
          This MDL arises from a data breach suffered by Retrieval-Masters Creditors Bureau, Inc.
  d/b/a American Medical Collection Agency (“AMCA”). Defendants are primarily healthcare
  providers who hired AMCA as a collections vendor and provided AMCA with sensitive patient
  information to facilitate collections. Between late 2018 and March 2019, an unauthorized user or
  users gained access to an AMCA computer system containing the private information of millions
  of patients (the “Data Breach”). Plaintiffs are among those patients whose Personal Information
  was impacted by the Data Breach. Each FAC alleges claims against a different Defendant or group
  of Defendants.
          On December 16, 2021, the Court granted in part and denied in part motions to dismiss the
  original consolidated class action complaints (“CCAC’s”). See generally, 2021 Opinion. The
  Court identified three groups of plaintiffs: (1) patients who had allegedly suffered economic
  injuries resulting from the misuse of Personal Information (the “Group I Plaintiffs”); (2) patients
  who did not experience direct economic harm, but who alleged facts sufficient to infer that an

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    This Letter Order addresses only the Motions to Dismiss the relevant FACs against (1) LabCorp, see ECF Nos. 318
  (“LabCorp FAC”); and (2) Sonic, see ECF No. 321(“Sonic FAC”).
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    As the Court has addressed the facts of this case in detail in its December 16, 2021 Opinion, ECF. No. 283 (the
  “2021 Opinion”), it summarizes only the facts necessary to address the present motions.
Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 2 of 13 PageID: 8146




  unauthorized user obtained the patient’s Personal Information in the Data Breach (the Group II
  Plaintiffs”); and (3) patients who alleged that their Personal Information was stored in the
  compromised AMCA systems but do not allege any other facts to suggest that their information
  was actually accessed, downloaded, or misused by an unauthorized party (the “Group III
  Plaintiffs”). 3 The Court dismissed for lack of standing (1) the claims of the Group III Plaintiffs
  because they did not allege an injury-in-fact and (2) the claims of one Group II Plaintiff, Sonic
  Plaintiff D. Davis, for lack of traceability. The Court held that the remaining Plaintiffs had
  sufficiently pled negligence, negligence per se 4 and certain state statutory violations, 5 but did not
  sufficiently plead unjust enrichment and breach of implied contract. Notably, the Court also
  dismissed the negligence claim of Sonic Plaintiff G. Anderson because she failed to plead that any
  specific Sonic entity owed her a duty of care. As a result, all the claims against Sonic were
  dismissed, while Group I and II LabCorp Plaintiffs’ claims were permitted to proceed.
          On March 31, 2022, Plaintiffs filed FACs against Sonic and LabCorp. Specifically, the
  FACs assert five common law claims: (1) negligence, (2) negligence per se, (3) breach of
  confidence, (4) invasion of privacy and (5) unjust enrichment. The LabCorp FAC also asserts
  violations of state consumer laws. 6 The instant Motions followed.

  II.     LEGAL STANDARD
          1.       Motion to Dismiss Under Rule 12(b)(1)
         A motion to dismiss for lack of standing is properly brought pursuant to Rule 12(b)(1). See
  Bellentine v. United States, 486 F.3d 806, 810 (3d Cir. 2007). Under Rule 12(b)(1), a plaintiff
  bears the burden of persuading the Court that subject matter jurisdiction exists. See Kehr
  Packages, Inc. v. Fidelcor, Inc., 926 F.2d 1406, 1409 (3d Cir. 1991). In resolving a Rule 12(b)(1)

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   Group III included two Sonic Plaintiffs: (i) Tim Collinsworth and (ii) Tonda Tate; and 15 LabCorp Plaintiffs: (i)
  Tracy Buhr, (ii) Susan Duckworth, (iii) Jennifer Haley, (iv) Justin Nelson-Carter, (v) David Finch, (vi) George
  Rothwell, (vii) Cassandra Jerry, (viii) Carol Kaplan, (ix) Brenda Evans, (x) Jesse Lebon, (xi) Wendy Wallach, (xii)
  Sheera Harris, (xiii) Isaac Williams-Winders, (xiv) Martha Cuviller, and (xv) Gina Allende.
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   Specifically, the Court found that the negligence and negligence per se claims of the following Plaintiffs against
  LabCorp could proceed: Sherrie Palmer, Sandra Lassiter, Aleksander Nazemnikov, Tanya Harris, Holly Laufenberg,
  Tatyana Shulman, Kristopher Thomas, Rosaria Gadero, and Melanie Vazquez, Timothy Petri, Valerie Scott, Cameron
  Spencer, Lori Lamondie-Murphy, Debra Wrenn, Edith Thrower, Timothy Judelsohn, and Tiffany Goins.
  5
   Specifically, the Court found that Tatyana Shulman’s claim against LabCorp under the Massachusetts Consumer
  Protection Act could proceed.
  6
    LabCorp Plaintiffs claim violations of: (i) California’s Confidentiality of Medical Information Act, Cal. Civ. Code
  §56, et seq (“CMIA”); (ii) California Unfair Competition Law, Cal. Bus. & Prof. Code §§17200, et seq. (“UCL”); (iii)
  California’s Consumers Legal Remedies Act, Cal. Civ. Code §§1750, et seq. (“CLRA”); (iv) Kansas’s Protection of
  Consumer Information, Kan. Stat. Ann. §§50-7a02(a), et seq. (“KPCI”); (v) Kansas Consumer Protection Act, K.S.A.
  §§50-623, et seq. (“KSA”); (vi) Kentucky Computer Security Breach Notification Act, Ky. Rev. Stat. Ann. §§365.732,
  et seq. (“KCSBNA”); (vii) Kentucky Consumer Protection Act, Ky. Rev. Stat. §§367.110, et seq. (“KCPA”); (viii)
  Maryland Consumer Protection Act, Md. Code Ann. Com. Law §13-101, et seq. (“MCPA”); (ix) Maryland Person
  Information Protection Act, Md. Comm. Code §§14-3501, et seq.(“MPIPA”); (x) Massachusetts Consumer Protection
  Act, Mass. Gen. Laws Ann. Ch. 93A, §§1, et seq. (“MACPA”); (xi) New York General Business Law, N.Y. Gen. Bus.
  Law §§349, et seq. (“NYGBL”); (xii) Pennsylvania Unfair Trade Practices and Consumer Protection Law, LAW, 73
  Pa. Cons. Stat. §§201-2 & 201-3, et seq. (“PUTPCPL”); (xiii) Wisconsin’s Notice of Unauthorized Acquisition of
  Person Information, Wis. Stat. §§134.98(2), et seq. (“WNUAPI”); and (xiv) Wisconsin Deceptive Trade Practices
  Act, Wis. Stat. §100.18 (“WDTPAA”).

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 3 of 13 PageID: 8147




  motion, a court first determines whether the motion presents a “facial” or “factual” attack. See
  Constitution Party of Pa. v. Aichele, 757 F.3d 347, 357 (3d Cir. 2014). A facial attack argues that
  a claim on its face “is insufficient to invoke the subject matter jurisdiction of the court,” id. at 358,
  and “does not dispute the facts alleged in the complaint,” Davis v. Wells Fargo, 824 F.3d 333, 346
  (3d Cir. 2016). A court reviewing a facial attack must “consider the allegations of the complaint
  and documents referenced therein and attached thereto, in the light most favorable to the plaintiff.”
  Constitution Party of Pa., 757 F.3d at 358. Here, Defendants’ motions to dismiss for lack of
  standing present facial attacks because they challenge Plaintiffs’ standing to bring this lawsuit
  according to the pleaded facts. The Court thus accepts as true the pleaded facts as they relate to
  Plaintiffs’ standing and draws all reasonable inferences in Plaintiffs’ favor. See Constitution Party
  of Pa., 757 F.3d at 358.
          2.      Motion to Dismiss Under Rule 12(b)(6)
         In resolving a Rule 12(b)(6) motion to dismiss, the Court accepts all pleaded facts as true,
  construes the complaint in the plaintiff’s favor, and determines “whether, under any reasonable
  reading of the complaint, the plaintiff may be entitled to relief.” Phillips v. County of Allegheny,
  515 F.3d 224, 233 (3d Cir. 2008) (internal quotation marks and citation omitted). To survive a
  motion to dismiss, the claims must be facially plausible, meaning that the pleaded facts “allow []
  the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The allegations must be “more than labels and
  conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl.
  Corp. v. Twombly, 550 U.S. 544, 555 (2007).
  III.    ANALYSIS
          1.      Standing
           Defendants argue that the Court should dismiss Plaintiffs’ claims because the FACs still
  fail to establish injury-in-fact for the Group III Plaintiffs, and traceability for Sonic Plaintiff D.
  Davis. The Court disagrees.
           As discussed at length in the Court’s 2021 Opinion, Plaintiffs must allege that their
  Personal Information was accessed, stolen, or misused to establish injury-in fact in the data breach
  context. LabCorp and Sonic Plaintiffs whom the Court previously placed in Group III have now
  alleged financial injury from identity theft, or misuse of their information though publication on
  the dark web or attempted identity theft. For example, LabCorp Plaintiff T. Buhr now alleges
  three attempts to open credit cards in her name, that her Experian account was hacked, the
  unauthorized use of her debit card, and an attempt to open a bank account in her name. LabCorp
  FAC ¶ 20. Further, every LabCorp and Sonic Plaintiff now alleges that his or her information has




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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 4 of 13 PageID: 8148




  been found on the Dark Web. See, e.g., LabCorp FAC ¶40. 7 Accordingly, every Plaintiff has
  sufficiently alleged injury-in-fact such that they are either in Group I 8 or Group II. 9
          Additionally, the Court’s 2021 Opinion found that the allegation that Plaintiffs “would
  not have had their Personal Information compromised by hackers ‘but for’ Defendants’ choice to
  contract with AMCA without maintaining any oversight,” was sufficient to establish causation
  for Article III standing at this stage. 2021 Opinion at 21. The Court finds these allegations
  sufficient for every Plaintiff at issue here. 10 See [LabCorp FAC ¶ 227; Sonic FAC ¶ 284 ].
          The Court therefore finds that former LabCorp and Sonic Group III Plaintiffs, now
  designated as part of either Group I or II, and Sonic Plaintiff D. Davis, have now sufficiently
  established standing to survive a motion to dismiss.
          2.       Failure to State a Claim 11
          In the Court’s prior Opinion, it found that all but one Group I and II Plaintiffs had
  sufficiently plead negligence and negligence per se claims, but dismissed each breach of implied
  contract and unjust enrichment claim. The Court also dismissed all but one LabCorp claim for
  violation of a state consumer law. Here, the Court will address whether the FACs cured the
  deficiencies outlined in the Court’s prior opinion and the sufficiency of the FACs regarding the
  claims of new Group I and II Plaintiffs.
                    A.       Negligence Claims
          The Defendants argue that (1) that Plaintiffs have not adequately pled the injury and
  damages elements of common law negligence; (2) Plaintiffs cannot premise their negligence per
  se claims on alleged violation of Section 5 of the FTC Act or HIPAA; and (3) Plaintiffs’ negligence
  per se claims are not cognizable under the law of many Plaintiffs’ home states. The Court disagrees
  regarding common law negligence, and again declines to dismiss negligence per se claims prior to
  discovery.

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    The Court is not convinced by Defendants’ arguments that some of allegations are insufficient for failure to further
  specify the information published on the dark web and when it was discovered. This level of specificity is not required
  at this stage, especially because the Court must accept the allegations as true and resolve inferences in favor of
  Plaintiffs. See Constitution Party of Pa., 757 F.3d at 357. The Defendants may renew their specificity and factual
  causation arguments after discovery.
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    Group I now includes additional LabCorp Plaintiffs: (i) Justin Nelson-Carter (unauthorized charges); (ii) David Finch
  (unauthorized withdrawal and pre-paid debit card); (iii) Jesse Lebon (unauthorized charges); and (iv) Sheera Harris
  (fraudulent medical bill).
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    Group II now include an additional Sonic Plaintiff: Tonda Tate (fraudulent credit account); and 7 LabCorp Plaintiffs:
  (i) Tracy Buhr (attempted charges and attempts to open credit and other accounts); (ii) Jennifer Haley (unauthorized
  credit inquiry); (iii) George Rothwell (increased phishing emails); (iv) Carol Kaplan (unauthorized credit inquiry);
  (vi) Wendy Wallach (information on dark web); (vii) Martha Cuviller (increased spam calls and email).
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    The Court notes that Sonic Plaintiff D. Davis’s alleged injury in April 2018 is still insufficient because the Sonic
  FAC fails to include any allegation supporting his contention that the data breach occurred prior to August 1, 2018.
  However, D. Davis’s claims may proceed based on his separate allegation that his information was found on the dark
  web.
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    The Court reiterates its decision that “it is premature to decide choice of law issues at this stage.” 2021 Opinion at
  25. “That said, the Court may still address several arguments raised by Defendants in the Motions regarding Plaintiffs’
  common law claims, where the potentially-applicable states’ laws are not meaningfully distinct.” Id. Furthermore,
  the parties again agree that the statutory claims should apply the law of each Plaintiff’s respective state.

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 5 of 13 PageID: 8149




          Defendants do not make any arguments regarding new Group I and II Plaintiffs that the
  Court did not address in its 2021 Opinion. Regarding the negligence claims, the Court found that
  Defendants owed Plaintiffs a duty to safeguard their Personal Information, and that Defendants
  breached that duty by failing to oversee AMCA’s data security. 2021 Opinion at 27-28. The Court
  also found that Plaintiffs’ allegations that their “Personal Information would not have been
  compromised but for” that breach were sufficient to establish causation, and that the injuries
  sufficient for standing were sufficient to allege damages at this stage. Id. at 29-30. The Court
  declined to address the negligence per se claims prior before the end of discovery and a choice of
  law decision. Id. at 32-33. Because the Defendants simply restate their previous negligence
  arguments, the Court again finds that the new Group I and II Plaintiffs have sufficiently alleged
  injury and damages such that their negligence and negligence per se claims may continue. 12
          The Court did dismiss Sonic Plaintiff Anderson’s negligence claims for failure to
  “expressly allege the specific entities that collected, maintained, and failed to protect Anderson’s
  Personal Information.” Id. at 31. But now, each Sonic Plaintiff alleges the specific Sonic entity
  from which he or she received healthcare services and provided his or her Personal Information.
  See e.g., Sonic FAC. ¶¶ 17-19 (alleging that Anderson was a patient of CPL and Austin Pathology,
  and that those entities, along with Sonic and Aurora, sent her bills to AMCA for collections). The
  Sonic FAC also includes a detailed breakdown of the Sonic entities, and importantly alleges that
  “[a]lthough Sonic is the parent and management company of its subsidiaries, Sonic directly
  interacted with AMCA on behalf of its subsidiaries,” providing “AMCA with the Personal
  Information of the patients of its subsidiaries CPL, AEL, CBLPath, and Sunrise.” Id. ¶¶ 116-17,
  125-28. The Sonic FAC includes similar allegations regarding Aurora and its subsidiaries. Id. ¶¶
  130-36. These allegations are sufficient to cure the group-pleading deficiencies identified in the
  Court’s 2021 Opinion. 13
                  B.      Unjust Enrichment
          The Defendants argue that Plaintiffs’ unjust enrichment claim should be dismissed because
  Plaintiffs have not alleged how they profited from their Personal Information. The Court agrees.
          In its 2021 Opinion, the Court found that Plaintiffs did not allege unjust enrichment because
  “beyond vague allegations that Defendants collected information for ‘commercial gain,’ [] the
  CCACs contain[ed] no facts showing how Defendants reaped monetary benefits or otherwise
  profited from Plaintiffs’ Personal Information.” 2021 Opinion at 33-34. The Court explained that
  unjust enrichment is appropriate in the data breach context when “businesses commoditize or
  receive an independent pecuniary benefit from holding the Personal Information,” such as using
  the information for targeting advertising. Id. at 34 (citing In re Yahoo! Inc. Customer Security


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    The Court notes that it has reserved its determination regarding the economic loss and other differing state damages
  doctrines for after discovery.
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     The Sonic Defendants’ argument that the Sonic FAC still does not sufficiently allege that Sonic or Aurora ever
  “collected, maintained, or transmitted” Plaintiffs’ Personal information is incorrect. The Sonic FAC alleges that, as a
  matter of course, Sonic and Aurora stored and provided AMCA with the Personal information of their subsidiaries’
  patients and provided examples of such transmissions. See, e.g., Sonic FAC ¶¶ 117-120, 122-26, 132-33. While these
  allegations may not survive summary judgement—they are enough to plausibly allege that Sonic and Aurora had a
  duty to safeguard Plaintiffs’ Personal Information.

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 6 of 13 PageID: 8150




  Data Breach Lit., No. 16-2752, 2017 WL 3727318, at *14 (N.D. Cal. Aug. 30, 2017); In re
  Marriott, 440 F. Supp. 3d at 461).
          Plaintiffs have not cured this deficiency. The FACs allege that the Personal Information is
  valuable to patients, and to criminals seeking to misuse that information. LabCorp FAC ¶¶ 160-
  73, 194-95; Sonic FAC ¶¶ 223-231, 251-52. However, the FACs do not explain how this
  information is independently valuable to the Defendants. Plaintiffs pay Defendants for medical
  services received and entrust their Personal Information incidental to those services. Allegations
  that Plaintiffs would not have engaged Defendants for medical services do not plausibly suggest
  that the Personal Information itself is a part of Defendants’ business model. See Yingst v. Novartis
  AG, 63 F. Supp. 3d 412, 417 (D.N.J. 2014) (dismissing an unjust enrichment claim despite
  Plaintiff’s argument that she unjustly paid the Defendant more for its product than other
  comparable products). The Court will therefore dismiss the unjust enrichment claims with
  prejudice, as further amendment would be futile.
                  C.      Breach of Confidence
           The Defendants argue that Plaintiffs’ new breach of confidence claims should be dismissed
  because the FACs do not allege that Defendants affirmatively disclosed private information to the
  individuals who breached AMCA’s systems. 14 The Court agrees.
           Plaintiff’s allegations are insufficient to plead breach on confidence under any state’s
       15
  law. Breach of confidence requires “the unconsented, unprivileged disclosure to a third party of
  nonpublic information.” Kamal v. J. Crew Grp., Inc., 918 F.3d 102, 114 (3d Cir. 2019). Plaintiffs
  must allege affirmative action on the part of the discloser. See, e.g., In re Brinker Data Incident
  Litig., 2020 WL 691848, at *22 (M.D. Fla. Jan. 27, 2020) (dismissing a breach of confidence claim
  where the plaintiffs failed to allege that the defendant did “any act that made [p]laintiffs’
  information known—the information was stolen by third-parties.”)
           Plaintiffs concede that they do not allege that Defendants affirmatively disclosed their
  information to the individuals who hacked AMCA. LabCorp Pl. Opp. at 13, ECF No. 362.16
  Instead, Plaintiffs rely on Defendants disclosure to AMCA. Id. However, the FACs do not
  plausibly allege that AMCA was an unauthorized third party. The Plaintiffs do not argue that they
  did not permit Defendants to share Personal Information with third party entities like AMCA for
  billing purposes. In fact, allegations that some Plaintiffs received collection notices from AMCA,
  or provided their information directly to AMCA, undermine the argument that AMCA was an
  unauthorized third party. See, e..g., LabCorp FAC ¶ 23; Sonic FAC ¶ 20. Furthermore, references

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    The Court need not address the Defendants’ other arguments for why the breach of confidence claims should be
  dismissed.
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     Although the Court declined to conduct a full choice of law analysis at this time, Plaintiff’s have not cited a case
  from any state supporting their argument that reckless disclosure to an authorized third party is sufficient to plead a
  breach of confidence claim. The only relevant case Plaintiffs cite involved the unauthorized disclosure of the
  plaintiff’s attempted suicide by hospital staff to a professional regulatory body for investigation. Wildman v. Homa,
  32 Pa. D. & C.4th 468, 472-73, 480 (Com. Pl. 1996) (granting defendant’s summary judgement on a breach of
  confidence claim based on a lack of evidence that hospital staff acted with malice), aff'd, 698 A.2d 679 (Pa. Super.
  Ct. 1997). Those circumstances are entirely different from the Defendants’ apparently authorized use of a third-party
  vendors for billing purposes here.
  16
    Sonic Plaintiffs do not make any independent arguments on this point, and in other parts of their opposition, and
  instead “incorporate” the arguments of other sets of Plaintiffs. Sonic Pl. Opp. at 24, ECF No. 365. The Court notes
  that it has referred to those arguments of other Plaintiffs throughout this Order as requested.

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 7 of 13 PageID: 8151




  to unauthorized disclosure in the breach of confidence claims clearly refer to the individuals who
  gained access through the data breach. LabCorp FAC ¶ 250 (“As a result of the Data Breach, there
  was an unauthorized disclosure of Plaintiffs’ and Class Members’ Personal Information”); Sonic
  FAC ¶310 (same). Plaintiffs’ assertion that an “unauthorized disclosure occurred” because
  Defendants “failed to implement and maintain reasonable safeguards” sounds “in negligence not
  breach of confidence.” In re Brinker, 2020 WL 691848, at *22. The Court declines Plaintiffs’
  apparent invitation to predict whether such a theory of breach of confidence law could exist where
  it has already permitted negligence claims to proceed.
                  D.      Invasion of Privacy
           Defendants argue that the new invasion of privacy claims should be dismissed because the
  Plaintiffs have not alleged intentional intrusion by the Defendants. 17 The Court agrees.
           To plead invasion of privacy, Plaintiffs must plead that the Defendants “believe[d], or
  [was] substantially certain, that [they] lack[ed] the necessary legal or personal permission to
  commit the intrusive act.” O'Donnell v. United States, 891 F.2d 1079, 1083 (3d Cir. 1989)
  (interpreting Pennsylvania law); In re Nickelodeon Consumer Priv. Litig., 827 F.3d 262, 293 (3d
  Cir. 2016) (“The New Jersey Supreme Court. . . has said that intrusion upon seclusion occurs
  whenever a plaintiff can show (i) an intentional intrusion (ii) upon the seclusion of another that is
  (iii) highly offensive to a reasonable person”). 18 “[T]he intrusion, as well as the action, must be
  intentional.” O'Donnell, 891 F.2d at 1083.
           Plaintiffs argue that grossly negligent conduct, such as not conducting oversight of AMCA,
  is sufficient to support an invasion of privacy claim, but cite no authority supporting that argument.
  The cases Plaintiffs cite still required allegations suggesting intentional conduct by the Defendant
  regarding the intrusion. See, e.g., Savidge v. Pharm-Save, Inc., 2021 WL 3076786, at *4 (W.D.
  Ky. July 1, 2021) (finding allegations that the defendant (1) “was aware of the potential hazard for
  phishing schemes;” (2) “failed to provide training or establish policies and procedures for
  protecting personal and sensitive information of its employees;” and (3) “that one or more agents
  of [defendant] released the sensitive and personal information in the W-2s to third-party
  cybercriminals” sufficient to plausibly allege intentional conduct).
           Here, Plaintiffs’ allegations that Defendants neglected their duty to oversee AMCA are
  inadequate. See Kirsten 2022 WL 16894503 at *4 (“Plaintiffs have not provided anything specific
  regarding whether or how Defendant knew its security was deficient or any other allegations

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     The Court need not address the Defendants’ other arguments for why the invasion of privacy claims should be
  dismissed.
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     See also Farmer v. Humana, Inc., 582 F. Supp. 3d 1176, 1188, at *18 (M.D. Fla. Jan. 25, 2022) (“invasion-of-
  privacy claim fails [under Florida Law] because [plaintiff] does not allege that [defendants] intentionally disclosed his
  [information] to unauthorized persons [but] that defendants’ negligent failure to protect the [information] resulted in
  the disclosure”); Burton v. MAPCO Express, Inc., 47 F. Supp. 3d 1279, 1288 (N.D. Ala. 2014) (Under Alabama Law,
  “even if the defendants were negligent, as alleged, in safeguarding [plaintiff’s] account information, such negligence
  does not morph into an intentional act of divulging his confidential information”); Mackey v. Belden, Inc., No. 4:21-
  CV-00149-JAR, 2021 WL 3363174, at *10 (E.D. Mo. Aug. 3, 2021) (Under Missouri Law, allegation that defendant
  “acted with a knowing state of mind when it permitted the Data Breach because it knew its information security
  practices were inadequate” is inadequate to plead invasion of privacy); Kirsten v. California Pizza Kitchen, Inc., No.
  221CV09578, 2022 WL 16894503, at *4 (C.D. Cal. July 29, 2022), reconsideration denied, No. 221CV09578, 2022
  WL 16894880 (C.D. Cal. Sept. 8, 2022) (“The Ninth Circuit has held that to state a claim for invasion of privacy under
  California common law, “a plaintiff must plead that (1) a defendant ‘intentionally intrude[d] into a place, conversation,
  or matter as to which the plaintiff has a reasonable expectation of privacy[,]’ and (2) the intrusion ‘occur[red] in a
  manner highly offensive to a reasonable person.’”) (citation omitted).

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 8 of 13 PageID: 8152




  indicating that Defendant intentionally allowed unauthorized access to Plaintiffs' [information].
  Plaintiffs thus provide only conclusory allegations regarding intentional invasion of privacy in
  their FAC.”) (citing In re Ambry, 567 F. Supp. 3d at 1143). The FACs come closer to alleging
  that AMCA acted knowingly by consciously disregarding the vulnerabilities in their systems; but
  even those allegations suggest that the vulnerabilities were not discovered until after the breach.
  See LabCorp FAC ¶¶ 94-97; Sonic FAC ¶¶ 158-74. Furthermore, AMCA is not a Defendant here.
  As discussed above, Section III.2.C, Plaintiffs have not alleged that Defendants disclosed their
  private information to hackers. Neither have Plaintiffs alleged facts suggesting that when
  Defendants shared information with AMCA, they did so with the intent to invade Plaintiff’s
  privacy. Accordingly, the Court will dismiss the invasion of privacy claims.

                    E.       Statutory Claims 19
           The LabCorp Defendants argue that Plaintiffs’ have failed to state violations of their
  respective state’s consumer and or data security statutes. 20 Specifically, the LabCorp Defendants
  argue that certain claims fail (1) for lack of Injury and Causation 21 or (2) because Plaintiffs have
  not alleged misrepresentations or omissions-based claims with particularity. LabCorp Defendants
  argue that the remaining statutory claims should be dismissed based on statute-specific rules. The
  Court will address each statute in turn, addressing statutes together only where the analysis is
  identical.
                           a) Omission-Based Claims
           LabCorp first argues that Plaintiffs’ omission-based statutory claims should be dismissed
  for failure to plead reliance with the particularity required. The Court agrees in part.
           As discussed at length in the Court’s 2021 Opinion, “Plaintiffs must satisfy Rule 9(b)[’s
  heightened pleading standard] to the extent their statutory claims rely on alleged
  misrepresentations and knowing omissions made by Defendants.” 2021 Opinion at 39-41. In

  19
     The Court will not revisit its finding that LabCorp Plaintiff Tatyana Shulman has pled a MACPA claim based on
  unfair or deceptive practices. 2021 Opinion at 57-58.
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    Plaintiffs state that they are no longer pursuing their Wisconsin and Pennsylvania consumer protection claims, or
  their Kentucky Data Breach notification claim LabCorp Pl. Opp. at 27 n.29, 37 n.33. Accordingly, those claims are
  dismissed.
  21
     LabCorp makes broad arguments that Plaintiffs statutory claims fail for lack of injury and causation. However, as
  discussed above supra-Section III.1, each new Group I and Group II LabCorp Plaintiff has sufficiently alleged concrete
  injury and that the injury was caused by the data breach. Unless a statute specifically limits the type of injury, the
  Court will not dismiss the claim for lack of injury. In the 2021 Opinion, the Court found, with respect to the statues
  at issue here, the CLRA did not limit the type of injury required, while the UCL did.
  Here, LabCorp’s only specific challenge to LabCorp Plaintiff Kaplan’s MCPA claim is that it should be dismissed
  because she does not allege and identifiable loss as the statute requires. The Court does not interpret the MCPA’s
  requirement that a plaintiff plead “actual injury or harm” that is “objectively identifiable,” Attias v. CareFirst, Inc.,
  365 F. Supp. 3d 1, 10 (D.D.C. 2019), on reconsideration in part, 518 F. Supp. 3d 43 (D.D.C. 2021) (citation omitted),
  as requiring only purely economic harms. Plaintiff Kaplan’s allegations that she suffered an unauthorized credit
  inquiry after the data breach and that her Personal Information was found on the dark web, combined with the costs
  of mitigation, LabCorp FAC ¶ 27, are sufficient at this stage to plead actual injury. See In re Marriott Int'l, Inc.,
  Customer Data Sec. Breach Litig., 440 F. Supp. 3d 447, 494 (D. Md. 2020) (“Plaintiffs do not need to assign a value
  at [the motion to dismiss stage] stage to adequately plead damages”).
  The Court will address and apply each remaining statute’s requirements in turn.



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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 9 of 13 PageID: 8153




  context of the facts of this case, Plaintiff must plead “that they read LabCorp’s privacy policies
  before agreeing to blood testing” to establish reliance. Id. 55-56. See also, e.g, Tabler v. Panera
  LLC, 2020 WL 3544988, at *6-7 (N.D. Cal. Jun. 30, 2020) (dismissing UCL and CLRA claims
  for failure to allege specific facts regarding statements). In contrast, Plaintiffs’ claims based on
  unlawfulness or unfairness may proceed if they plausibly allege the requirements of each statute.
  2021 Opinion at 39-41.
          Here, LabCorp Plaintiffs appear to assert omissions-based consumer protection claims
  under California’s UCL and CLRA; Kansas’s KSA; Kentucky’s KCPA; Maryland’s MCPA;
  Massachusetts’s MACPA; and New York’s NYGBL. Plaintiff Rothwell (Kentucky) did not allege
  that he read any privacy policy at all. See FAC ¶ 26. Similarly, Plaintiffs’ Nazemnikov
  (California), Shulman (Massachusetts), Gadero (New York), and Wallach’s (New York)
  allegations that each “does not recall” if he or she reviewed a privacy policy, or “believes” he or
  she did, id. ¶¶ 19, 28, 32, 33, are insufficient because omissions-based claims require particularity.
  The Court cannot find that these Plaintiffs relied on any omission by LabCorp if they are unsure
  whether they even read the policy at issue. Accordingly, these Plaintiffs’ omissions-based
  consumer claims are dismissed. 22
          Other Plaintiffs have alleged that they read LabCorp’s privacy policies at the time that they
  received services. Id. ¶¶ 18, 25, 27 (Lassiter-California; Finch-Kansas; and Kaplan-Maryland).
  These Plaintiffs have sufficiently alleged reliance, and therefore their omission-based statutory
  claims may proceed.
                           b) California CMIA
          LabCorp argues that the CMIA claim should be dismissed because Plaintiffs failed to allege
  that LabCorp mishandled Plaintiff’s medical information as defined by the statute. The Court
  disagrees.
          The Court previously held that Plaintiffs failed to allege facts sufficient to show that their
  “medical information” was viewed or accessed by an unauthorized person as required under the
  CMIA. 2021 Opinion at 63-64 (explaining that CMIA covers information “regarding a patient’s
  medical history, mental or physical condition, or treatment”); Cal. Civ. Code § 56.05. The
  LabCorp FAC now includes an explanation regarding LabCorp’s transmission of patients’ ICD
  codes, which “can be used to identify information relating to an individual’s medical history,
  mental or physical condition, and treatment.” LabCorp FAC ¶ 68. Plaintiffs allege that such ICD
  codes were stored on the AMCA’s CHAMP database that was accessed as part of the data breach.
  Id. ¶¶ 86, 277.
          LabCorp first argues that Plaintiffs did not specifically include ICD codes in their definition
  of Personal Information that was transmitted to AMCA. But the LabCorp FAC defines Personal
  Information broadly, including “information related to Plaintiffs’ and Class Members’ medical
  providers and services (such as dates of service and referring doctor).” Id. ¶ 6. The FAC plausibly
  suggests that when California Plaintiffs Lassiter and Nazemnikov alleged that LabCorp transmitted
  their Personal Information to AMCA, id. ¶¶ 18-19, that their ICD codes from which the specific
  medical diagnosis could be identified, were included. Defendant’s fact arguments to the contrary
  are unavailing at the motion to dismiss stage.
          LabCorp also argues that providing information to AMCA for billing purposes was
  expressly authorized by the CMIA, and that AMCA’s subsequent actions or omissions cannot

  22
     Because the NYGBL only permits misrepresentation or omission-based claims, LabCorp Plaintiffs Gadero and
  Wallach’s claims are dismissed with prejudice, as further amendment would be futile.

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 10 of 13 PageID: 8154




   create liability for LabCorp. LabCorp Br. at 22. 23 Plaintiffs concede that CMIA expressly
   authorizes health providers to disclose medical information to an “entity that provides billing,
   claims management, medical data processing, or other administrative services,” Cal. Civ. Code §
   56.10(c)(3), such as AMCA. However, Plaintiffs counter that the CMIA independently required
   LabCorp to take care to preserve the confidentiality of medical information when it “creates,
   maintains, preserves, stores, abandons, destroys, or disposes of medical information.” Cal. Civ.
   Code § 56.101(a). The Court agrees with Plaintiffs. LabCorp had a duty under the CMIA to
   safeguard medical information that included its oversight of AMCA. Plaintiffs have sufficiently
   alleged that LabCorp was negligent with respect to safeguarding their medical information. See
   supra-Section III.2.a.
           Accordingly, the CMIA claims of LabCorp Plaintiffs Lassiter and Nazemnikov may
   proceed.
                           c) California’s CLRA, Kansas’s KSA, and Kentucky’s KCPA
           LabCorp argues that Plaintiffs’ CLRA, 24 KSA, and KCPA 25 claims each fail because
   Plaintiffs do not allege that they purchased or leased any service or good, as each statute requires.
   Cal. Civ. Code §§ 1780(a), 1761(d); Kan. Stat. Ann. §§ 50-626(a), 50-624(c); Ky. Rev. Stat. Ann.
   § 367.220(1). The Court disagrees.
           Plaintiffs’ allegations that they were billed for LabCorp services are sufficient here. 26
   LabCorp relies on cases dismissing these claims where the plaintiffs received free goods or

   23
     The Defendants also argue that the CMIA requires only affirmative disclosure, and thus third-party hackers stealing
   the information from AMCA is not actionable. However, “[t]he plain text of the statute does not require an affirmative
   disclosure by the medical provider to create liability but in fact creates a remedy for those who store records
   negligently.” In re Solara Med. Supplies, LLC Customer Data Sec. Breach Litig., 613 F. Supp. 3d 1284, 1299 (S.D.
   Cal. 2020) (citing Regents of Univ. of California v. Superior Ct., 163 Cal. Rptr. 3d 205, 217 (Cal. App. 4th 2013)).
   24
      LabCorp also argues that the CLRA claim should be dismissed for lack sufficient of pre-suit notice. However,
   California state courts have clarified that federal courts requiring dismissal for lack of proper notice pursuant to the
   CLRA “fail to properly take into account the purpose of the notice requirement,” which “exists in order to allow a
   defendant to avoid liability for damages if the defendant corrects the alleged wrongs within 30 days after notice, or
   indicates within that 30-day period that it will correct those wrongs within a reasonable time.” Morgan v. AT&T
   Wireless Servs., Inc., 177 Cal. App. 4th 1235, 1261 (2009). Here, Plaintiffs provided notice immediately before their
   CCAC —over 2.5 years before the present FAC was filed. The Court will not dismiss the viable CLRA claim based
   on insufficient notice where the Defendant has been aware of the relevant allegations for far more than the 30 days
   required. See Whelan v. BDR Thermea, No. C-11-02146 EDL, 2011 WL 6182329, at *7 (N.D. Cal. Dec. 13, 2011)
   (“the issue of notice is moot now that Plaintiff has filed a second amended complaint after Defendant timely responded
   to the notice”).
   25
     Defendants’ additional arguments regarding the statutory territorial requirement and prohibition against class actions
   are unavailing at this time. The parties are unable to cite any cases on regarding the purported territorial limit of the
   KCPA. And although the court is inclined to agree at least that the KCPA does not permit class actions in light of
   Arnold v. Microsoft Corp., 2000 WL 36114007, at *6 (Ky. Cir. Ct. July 21, 2000), aff’d, 2001 WL 1835377 (Ky. Ct.
   App. Nov. 21, 2001)—the parties disagree on over whether either prohibition is substantive such that 28 U.S.C. §1332
   and Federal Rule 23 should not apply. The Court declines to dismiss the KCPA claims at this time given the limited
   briefing on the Erie dispute. See Chen v. Target Corp., 2022 WL 1597417, at *19 (D. Minn. May 19, 2022) (declining
   to dismiss class action claim under the KCPA because it was unclear whether the prohibition was substantive or
   procedural, and issue was insufficiently briefed). The Defendants may renew these arguments through supplemental
   briefing, or at summary judgment.
   26
     The Court also notes that is not convinced that these statutes limit ascertainable loss such that the harms identified
   supra Section III.1 would be insufficient to establish damages. See Via Christi Reg'l Med. Ctr., Inc. v. Reed, 298 Kan.
   503, 519, 314 P.3d 852, 864 (2013) (“a consumer need not establish measurable monetary damages to qualify as
   aggrieved” under the KSA); Complete Auto. Repair Servs. v. Capps, No. 2012-CA-002145-MR, 2015 WL 2445911,

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 11 of 13 PageID: 8155




   services in exchange for their Personal Information. See Claridge v. RockYou, Inc., 785 F. Supp.
   2d 855, 864 (N.D. Cal. 2011) (dismissing a CLRA claim based on plaintiff’s “transfer of [Personal]
   [I]nformation to defendant in exchange for free applications”); Berry v. Nat'l Med. Servs., Inc.,
   205 P.3d 745, 752 (Kan. App. 2009), aff'd, 257 P.3d 287 (Kan. 2011) (dismissing a KSA claim
   where the plaintiff failed to allege facts suggesting that she “exchang[ed] anything of value with
   the defendants to secure their services). The facts here are wholly different. Plaintiffs allege that
   they used LabCorp’s medical services and that their information was transmitted to AMCA for bill
   collections purposes. See LabCorp FAC ¶¶ 18, 26. These facts suggest that Plaintiffs received
   services in exchange for the promise to pay for those services. The Court is satisfied that LabCorp
   Plaintiffs Lassiter, Rothwell, and Finch have sufficiently alleged a purchase under the CLRA, KSA
   and KCPA. 27
                            d) California’s UCL
           LabCorp argues that Plaintiffs’ fraud and unlawfulness UCL claims should be dismissed
   because the Plaintiffs have not established that they lack an adequate remedy at law. 28 The Court
   agrees.
           The UCL provides only equitable or injunctive relief for consumers harmed by a business’s
   fraudulent, unlawful or unfair business practices. See Korea Supply Co. v. Lockheed Martin
   Corp., 63 P.3d 937, 943 (Cal. 2003). The Ninth Circuit has held that “the traditional principles
   governing equitable remedies in federal courts, including the requisite inadequacy of legal
   remedies, apply when a party requests restitution under the UCL and CLRA in a diversity action.”
   Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020). LabCorp Plaintiffs Lassiter
   and Nazemnikov have alleged at least negligence and CMIA claims, and Lassiter has also alleged
   a CLRA claim for damages. Plaintiffs make no argument and have not otherwise “alleged any
   facts establishing that their remedies at law are inadequate.” Watkins v. MGA Ent., Inc., 550 F.
   Supp. 3d 815, 838 (N.D. Cal. 2021).
           Plaintiffs’ allegations regarding future redressable harm “because LabCorp’s oversight of
   its collection vendors may still be legally deficient and Plaintiffs’ accounts may still be in
   collection, see LabCorp FAC ¶ 50, are still insufficient to justify injunctive relief. As the Court’s
   2021 Opinion explained, an injunction against LabCorp “will not prevent hackers already in
   possession of [Plaintiffs’] Personal Information from doing future harm.” 2021 Opinion at 51.
   Furthermore, even accepting Plaintiffs’ conclusory allegation that their accounts may still be in
   collections—Plaintiffs repeatedly allege that they “would not have used” LabCorp if they “had
   known it would not protect [their] Personal Information, rendering it ‘unlikely that [they] will be
   deceived again.’” Id. (citing Johnson, 175 F. Supp. 3d at 1141).




   at *5 (Ky. Ct. App. May 22, 2015), as modified (May 29, 2015) (concluding that “a person is not required to allege a
   specific amount of actual damages that he has already incurred as out-of-pocket expenses to make out a prima facie
   case under” the KCPA).
   27
      As discussed above, supra-Section III.2.E.a, LabCorp Plaintiff Rothwell’s omission based KSA claim must be
   dismissed. However, Rothwell’s “unconscionable” practices based KSA claim may continue. Additionally, since
   California LabCorp Plaintiffs Lassiter and Nazemnikov assert only omissions based CLRA claims, only Lassiter’s
   CLRA claim may continue.
   28
        The Court need not reach LabCorp’s other arguments for why the UCL claims should be dismissed.

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 12 of 13 PageID: 8156




             The Court will therefore dismiss both LabCorp Plaintiffs Lassiter and Nazemnikov’s UCL
             29
   claims.
                            e) Cybersecurity and Data Breach Statutes
           LabCorp argues that the Cyber Security and Data Breach Notification claims brought
   pursuant to Kansas’s KPCI, Wisconsin’s WNUAPI, and Maryland’s MPIPA should be dismissed
   because (1) the statutes do not have an enforceable private right of action and (2) LabCorp is
   exempt. The Court agrees in part.
           LabCorp first argues that these claims must be dismissed because the statutes do not
   provide a private right of action. The Court agrees that neither the KPCI nor WNUAPI expressly
   provide a private cause of action. See Kan. Stat. Ann. § 50-7a02(g) (“the attorney general is
   empowered to bring an action in law or equity to address violations of this section” and “[t]he
   provisions of this section are not exclusive”); Wis. Stat. Ann. § 134.98(4) (“Failure to comply with
   this section is not negligence or a breach of any duty, but may be evidence of negligence or a
   breach of a legal duty”). Plaintiff counters with cases permitting these statutory claims to proceed
   past the motion to dismiss stage in the absence of authority precluding private rights of action. See
   In re Equifax, Inc., Customer Data Sec. Breach Litig., 362 F. Supp. 3d 1295, 1341 (N.D. Ga. 2019)
   (“The court [in Target] concluded that, absent any [contrary] authority, the plaintiffs' claim should
   survive. Likewise, the here concludes that, without any authority suggesting otherwise, this claim
   should survive.”) (citing In re Target Corp. Customer Data Sec. Breach Litig., 66 F. Supp. 3d 1154,
   1169-70 (D. Minn. 2014)). But here, LabCorp has cited contrary authority at least for the
   WNUAPI. Fox v. Iowa Health Sys., 399 F. Supp. 3d 780, 800 (W.D. Wis. 2019) (“Because the
   legislature has not provided any indication that § 134.98 creates a separate right of action, the court
   will dismiss plaintiffs' claims under the statute.”). As a result, the Court will dismiss the WNUAPI
   claim.
           Regarding MPIPA, although the statute does not provide an independent right of action, it
   provides that a violation is enforceable through the MCPA. Md. Code Ann. Com. Law § 14-3508.
   Therefore, the Court must dismiss the MPIPA claim to the extent that it stands apart from the
   MCPA claim, which the Court has already permitted to proceed. 30
           LabCorp next argues that the KCPI exempts entities regulated by HIPAA and that the
   MPIPA exempts entities that comply with HIPAA. The Court agrees but finds that only the KCPI
   claims require dismissal. With respect to the KCPI, the plain language of the statute exempts
   entities regulated by federal laws such as HIPAA. Kan. Stat. Ann. § 50-7a02(e) (“An [entity that
   is regulated by federal law] and that maintains procedures for a breach of the security of the system
   pursuant to the laws[] established by its primary or functional state or federal regulator is deemed
   to be in compliance with this section.”).




   29
      Any further amendment should detail the risk of future harm arising from LabCorp’s conduct, other than the harm
   stemming from the past data breach.
   30
      Specifically, the Court has permitted the omission based MCPA claim to proceed based on LabCorp Plaintiff
   Kaplan’s reliance allegations. Any successfully alleged violations of MPIPA’s data security requirements may
   proceed only as part of Kaplan’s MCPA claim. As the Court has already found that the MCPA does not limit the type
   of damages recoverable, supra note 21, it is unnecessary to separately address this argument under the MPIPA. The
   parties factual dispute regarding the amount of damage flowing from the delayed notification vs. the data breach is
   better resolved after discovery.

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Case 2:19-md-02904-MCA-MAH Document 507 Filed 05/05/23 Page 13 of 13 PageID: 8157




           With respect to the MPIPA, 31 however, the statute only exempts entities that comply with
   such regulations. Md. Code Ann. Com. Law § 14-3507(d)(1) (“A business that is subject to and
   in compliance with the federal Health Insurance Portability and Accountability Act of 1996 shall
   be deemed to be in compliance with this subtitle”). HIPAA requires notification of a data breach
   “without unreasonable delay and in no case later than 60 calendar days after discovery of a breach.”
   45 C.F.R. §164.404(b). The LabCorp FAC alleges the following: (1) LabCorp should have known
   of the Data Breach no later than March 2019 had LabCorp exercised reasonable diligence,
   LabCorp FAC ¶114; (2) LabCorp did not send any breach notice until June 4, 2019, id. ¶140; and
   (3) LabCorp did not post any information about the Data Breach on its website until July 13, 2019,
   id. ¶141. These allegations are sufficient to allege non-compliance with HIPAA’s 60-day
   requirement at this stage.
           Accordingly, the Court will dismiss the WNUAPI and KCPI claims, but permit the MPIPA
   claim to proceed as part of Plaintiff Kaplan’s MCPA claim.

   IV.      CONCLUSION
          For the reasons stated above, Defendants’ Motions to Dismiss pursuant for lack of standing
   to Rule 12(b)(1), ECF Nos. 347, 351, are DENIED.
          Defendants’ Motions to Dismiss for failure to state a claim pursuant to Rule 12(b)(6), ECF
   Nos. 347, 351, are GRANTED in part and DENIED in part. The following claims may proceed:
              1) The negligence and negligence per se claims of all Sonic and LabCorp Plaintiffs;
                2) Sandra Lassiter and Aleksander Nazemnikov’s claims against LabCorp under the
                   California Confidentiality of Medical Information Act;
                3) Sandra Lassiter’s claim against LabCorp under the California Consumers Legal
                   Remedies Act;
                4) George Rothwell’s claim against LabCorp under the Kentucky Consumer
                   Protection Act;
                5) David Finch’s claim against LabCorp under the Kansas Consumer Protection Act;
                6) Carol Kaplan’s claim against LabCorp under the Maryland Consumer Protection
                   Act;
               7) Tatyana Shulman’s claim against LabCorp under the Massachusetts Consumer
                   Protection Act; and
           Plaintiffs may amend the Complaint within 30 days of this Order to cure any deficiencies
   identified herein.
                                                  SO ORDERED.
                                                               /s Madeline Cox Arleo__________
                                                               MADELINE COX ARLEO
                                                               UNITED STATES DISTRICT JUDGE

   31
     LabCorp also argues that MPIPA specifically permits it to disclose personal information to nonaffiliated third-party
   service providers like AMCA. Md. Code Ann. Com. Law § 14-3503(b). However, this permission does not absolve
   LabCorp of its general responsibility to “implement and maintain reasonable security procedures” which arguably
   prohibits negligence in disclosing that information. Id. 14-3503(a). As such, the Court will not dismiss the MPIPA
   claim for this reason.

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